Case 4:22-cr-00115-JFH Document 112 Filed in USDC ND/OK on 12/21/22 Page 1of1

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,

Plaintiff, Case No.: 22-cr-00115-JFH
Vs. Date: 12/21/2022
Court Time: 2:00 p.m.

Donnie B Pearson,

Defendant(s). MINUTE SHEET — ARRAIGNMENT
Jodi F. Jayne, U.S. Magistrate Judge S. Cope, Deputy Clerk Magistrate Courtroom 1
Counsel for Plaintiff; David Nasar | “oulie Che [duress ny
Counsel for Defendant: Clinton Reed James , Appt.
Interpreter: LJ sworn
Defendant appears 4#-persen for Arraignment on: C) Indictment; & Information; C) Complaint;
if, bawdeo OW with Counsel; 1 Counsel waived; C1 w/o Counsel;
eo acknowledges receipt of Information Indictment: © Read; fi Reading waived;
Defendant advised of charge;

Defendant’s name as reflected inthe Information;

Verified in open court as the true and correct legal name
C Corrected by interlineation to

to reflect Defendant’s true and correct legal name and all previous filings are amended by interlineation to reflect same.
O Unable to verify in open court as the true and correct legal name: 0 US. Attorney; OJ Deft’s Att. to verify and advise court;

Bet coctelpenuner held and Defendant pleads Not Guilty; Court accepts plea (Schedule to be entered;
Defendant waives: Feticuons OC Detention Hearing; OC Separate Representation OC) Waivers approved by Court,
QO) Arraignment continued to: at

CO) Detention Hearing scheduled: at

0) Defendant allowed to stand on present bond; 1) Government stipulates, findings made

o bcfereat remanded to custody of U.S. Marshal

Additional Minutes:

Arraignment on Felony Information (7/2021)
